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                                   4                        UNITED STATES DISTRICT COURT

                                   5                      NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7   IN RE TESLA INC., SECURITIES          Case No. 18-cv-04865-EMC
                                       LITIGATION
                                   8
                                                                             VERDICT FORM
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                                  12
Northern District of California
 United States District Court




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                                  14                              VERDICT FORM

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                                   1   A.    RULE 10B-5 CLAIM: LIABILITY

                                   2

                                   3         Statement No. 1: “Am considering taking Tesla private at $420. Funding secured.”

                                   4

                                   5         1.    Has Plaintiff proved their Rule 10b-5 Claim against Elon Musk for Statement No. 1

                                   6               identified above?

                                   7

                                   8                      Yes: _____            No: _____

                                   9

                                  10         2.    Has Plaintiff proved their Rule 10b-5 Claim against Tesla Inc. for Statement No. 1

                                  11               identified above?

                                  12
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                                  13                      Yes: _____            No: _____

                                  14

                                  15   _______________________________________________________________________________

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                                   1          Statement No. 2: “Investor support is confirmed. Only reason why this is not certain

                                   2   is that it’s continent on a shareholder vote.”

                                   3

                                   4          3.     Has Plaintiff proved their Rule 10b-5 Claim against Elon Musk for Statement No. 2

                                   5                 identified above?

                                   6

                                   7                         Yes: _____            No: _____

                                   8

                                   9          4.     Has Plaintiff proved their Rule 10b-5 Claim against Tesla Inc. for Statement No. 2

                                  10                 identified above?

                                  11

                                  12                         Yes: _____            No: _____
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                                  13

                                  14   _______________________________________________________________________________

                                  15          IF YOU CHECKED “YES” FOR ONE OR MORE QUESTIONS IN STATEMENT NOS.

                                  16                         1 OR 2, PLEASE PROCEED TO THE NEXT PAGE.

                                  17

                                  18
                                  19           IF YOU CHECKED “NO” FOR EVERY QUESTION IN STATEMENT NOS. 1 AND 2,

                                  20                                PLEASE PROCEED TO SECTION E.

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                                   1   B.    RULE 10B-5 CLAIM: DAMAGES

                                   2

                                   3         1.     Determine the amount of artificial inflation per share of Tesla stock proved by

                                   4                Plaintiff on each date during the Class Period and write it in the table below. If you

                                   5                find that Plaintiff did not prove artificial inflation on any particular day or days,

                                   6                please leave that date blank.

                                   7

                                   8

                                   9              07-      08-       09-        10-          13-      14-      15-       16-        17-
                                  10              Aug      Aug       Aug        Aug          Aug      Aug      Aug       Aug        Aug
                                  11    ($/share) $__.__   $__.__    $__.__     $__.__       $__.__   $__.__   $__.__    $__.__     $__.__
                                  12
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                                  13   _______________________________________________________________________________
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                                   1                    2.         Determine the “but for” implied volatility percentages proved by Plaintiff for each

                                   2                               option contract maturity date during the Class Period and write it in the table

                                   3                               below. If you find that Plaintiff did not prove “but-for” implied volatility for any

                                   4                               particular option contract or for any particular date, please leave that date and/or

                                   5                               option contract maturity date blank.

                                   6
                                                                                              Day of Class Period at Close of Market
                                   7

                                   8
                                                                           07-Aug    08-Aug     09-Aug      10-Aug   13-Aug   14-Aug    15-Aug    16-Aug
                                   9

                                  10                     Aug 10, 2018      ____%     ____%      ____%        NA       NA       NA         NA         NA

                                  11                     Aug 17, 2018      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%

                                  12                     Aug 24, 2018      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%
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                                  13                     Aug 31, 2018      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%

                                  14                         Sep 7, 2018   ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%

                                  15                     Sep 14, 2018      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%

                                  16                     Sep 21, 2018      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%
                                        Maturity Date




                                  17                     Sep 28, 2018        NA        NA       ____%       ____%    ____%    ____%     ____%     ____%

                                  18                     Oct 19, 2018      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%

                                  19                     Nov 16, 2018      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%

                                  20                     Dec 21, 2018      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%

                                  21                     Jan 18, 2019      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%

                                  22                     Feb 15, 2019      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%

                                  23                     Mar 15, 2019      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%

                                  24                     Jun 21, 2019      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%

                                  25                     Aug 16, 2019      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%
                                  26                     Jan 17, 2020      ____%     ____%      ____%       ____%    ____%    ____%     ____%     ____%
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                                   1          3.     Determine the amount of artificial inflation per Tesla corporate bond proved by

                                   2                 Plaintiff on each date during the Class Period and write it in the table below. If you

                                   3                 find that Plaintiff did not prove artificial inflation on any particular day or days,

                                   4                 please leave that date blank.

                                   5

                                   6               07-      08-       09-        10-         13-      14-       15-       16-        17-
                                   7               Aug      Aug       Aug        Aug         Aug      Aug       Aug       Aug        Aug
                                   8   2019
                                   9   Note
                                  10   2021
                                  11   Note
                                  12   2022
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                                  13   Note
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                                   1   C.     SECTION 20(A) CLAIM: LIABLITY

                                   2

                                   3          If you answered “Yes” to one or more questions in Section A, please answer the following

                                   4   questions.

                                   5

                                   6          1.     Has Plaintiff proved the Section 20(a) Claim as to any of the Tesla Director

                                   7                 Defendants (check all that apply):

                                   8

                                   9          Brad W. Buss:         Yes: _____                No: _____

                                  10          Robyn Denholm:        Yes: _____                No: _____

                                  11          Ira Ehrenpreis:       Yes: _____                No: _____

                                  12          Antonio J. Gracias:   Yes: _____                No: _____
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                                  13          James Murdoch:        Yes: _____                No: _____

                                  14          Kimbal Musk:          Yes: _____                No: _____

                                  15          Linda Johnson Rice: Yes: _____                  No: _____

                                  16

                                  17          2.     If you answered “Yes” in response to Question No. 1 as to any Defendant, have

                                  18                 Defendants proved a Good Faith Defense as to that Defendant (check all that

                                  19                 apply):

                                  20

                                  21          Brad W. Buss:         Yes: _____                No: _____

                                  22          Robyn Denholm:        Yes: _____                No: _____

                                  23          Ira Ehrenpreis:       Yes: _____                No: _____

                                  24          Antonio J. Gracias:   Yes: _____                No: _____

                                  25          James Murdoch:        Yes: _____                No: _____

                                  26          Kimbal Musk:          Yes: _____                No: _____

                                  27          Linda Johnson Rice: Yes: _____                  No: _____

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                                   1   D.   ALLOCATION OF RESPONSIBILITY

                                   2

                                   3        1.       For any Defendant whom you found liable, did that Defendant commit a knowing

                                   4                 violation of the federal securities laws? Only answer this question as to the

                                   5                 Defendants against whom you found that Plaintiff proved a claim.

                                   6

                                   7        Elon Musk:              Yes: _____             No: _____

                                   8        Tesla:                  Yes: _____             No: _____

                                   9        Brad W. Buss:           Yes: _____             No: _____

                                  10        Robyn Denholm:          Yes: _____             No: _____

                                  11        Ira Ehrenpreis:         Yes: _____             No: _____

                                  12        Antonio J. Gracias:     Yes: _____             No: _____
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                                  13        James Murdoch:          Yes: _____             No: _____

                                  14        Kimbal Musk:            Yes: _____             No: _____

                                  15        Linda Johnson Rice: Yes: _____                 No: _____

                                  16

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                                   1         2.       Please decide each Defendant’s share of responsibility for Plaintiff’s losses. Only

                                   2                  assign a percentage of responsibility to those Defendants whom you found liable,

                                   3                  including those who acted recklessly. The total must add up to 100%.

                                   4

                                   5         Elon Musk:              _____%

                                   6         Tesla:                  _____%

                                   7         Brad W. Buss:           _____%

                                   8         Robyn Denholm:          _____%

                                   9         Ira Ehrenpreis:         _____%

                                  10         Antonio J. Gracias:     _____%

                                  11         James Murdoch:          _____%

                                  12         Kimbal Musk:            _____%
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                                  13         Linda Johnson Rice: _____%

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                                   1   E.    RETURN OF VERDICT

                                   2         Once the form is completed, the foreperson for the jury must sign and date it below.

                                   3

                                   4

                                   5   Dated: __________________                  Signed: ____________________
                                                                                         Jury Foreperson
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